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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    NICK PATTERSON,                                    Case No. 3:22-cv-03600-JD
                                   8                   Plaintiff,
                                                                                           ORDER OF RECUSAL
                                   9            v.

                                  10    TERRAFORM LABS PTE LTD., et al.,
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          The Court recuses itself from all further proceedings in this matter, and directs the Clerk to

                                  14   reassign the case to another district judge.

                                  15          All pending dates of motions, pretrial conferences and trial are vacated and will be reset by

                                  16   the newly assigned judge.

                                  17          IT IS SO ORDERED.

                                  18   Dated: June 23, 2022
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                                                                                                    JAMES DONATO
                                  21                                                                United States District Judge
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